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                                                    Exhibit I




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                Case 2:24-cv-03951-PSG-RAO Document 1-9 Filed 05/10/24 Page 2 of 11 Page ID #:278
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                             U.S. Patent No. 8,645,517

                                              Sandpiper CDN




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               8,645,517                                                          Google CDN
 1. A method, operable in a               Google uses and provides content delivery network(s) (“Google CDN”), including Google’s
 framework in which an adaptive           internal services and services Google offers to third parties that are used to provide content,
 traffic control name server network      such as webpages and/or video streams, over a network. Google CDN includes services such
 implements policy-based traffic          as Google Cloud DNS, for example, along with Google’s own use of technologies to provide
 direction, the name server network       content in a network.
 comprising at least one domain
 name server comprising hardware          As one example, Google Cloud/Cloud DNS provides a method in which a name server
 in combination with software and         network implements policy-based traffic direction, including a domain name server
 constructed and adapted to provide       constructed to provide adaptive policy-based domain name service.
 adaptive policy-based domain name
 service, the method comprising:




                                          https://cloud.google.com/dns/docs/policies-overview

 A) providing a graphical user            Google provides a graphical user interface (GUI), for example as shown below as part of the
 interface (GUI);                         interface labeled “Create a response policy rule.”




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               8,645,517                                                             Google CDN




                                          https://www.youtube.com/watch?v=Z-5PcJ_y4Qg at 14:23.

 (B) using said GUI to obtain at least    Google uses a GUI to obtain at least one policy for direction of network traffic, including
 one policy for direction of network      supporting the setting of a policy using a decision tree representing rules.
 traffic, wherein the GUI supports
 the setting of said at least one         For example, Google Cloud uses a GUI to obtain policies for directing traffic to certain DNS
 policy using a decision tree             names, as shown above, and the hierarchy of drop-down menus used by Google support
 representing rules; and                  setting of a policy using a tree representing rules. As shown below, in the GUI for “Creat[ing]
                                          a response policy rule,” the exemplary “first rule” for a DNS name can be selected to have an
                                          “Action” of “Local Data,” which can include multiple “items” such as sets of IP addresses
                                          (e.g., for IPv4, IPv6, etc.).

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               8,645,517                                                             Google CDN




                                          For example, the Cloud DNS GUI uses a drop down menu representing decision-tree rules.




                                          https://cloud.google.com/dns/docs/policies-overview




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               8,645,517                                                             Google CDN




                                          https://www.youtube.com/watch?v=Z-5PcJ_y4Qg at 14:23.




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               8,645,517                                                             Google CDN




                                          https://www.youtube.com/watch?v=Z-5PcJ_y4Qg at 14:40.




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               8,645,517                                                             Google CDN




                                          https://www.youtube.com/watch?v=Z-5PcJ_y4Qg at 19:19.

 (C) providing said at least one          Google allows for policies that provide answers (for example, resource nodes) based on
 policy to the name server network,       criteria (for example, branch nodes) to DNS queries. For example, an interface supports the
 wherein the decision tree comprises      specification of at least one answer to a resource node and selected from at least types of IP
 one or more resource nodes, and          addresses (or, alternatively, world zones), for example, and where the answers to the queries
 one or more branch nodes, wherein        are IP addresses.
 the one or more resource nodes
 specify one or more answers to be
 provided in response to a Domain
 Name Service (DNS) request, and
 wherein the one or more branch
 nodes specify one or more decision
 criteria to be applied, and wherein
 the GUI supports the specification
 of:



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               8,645,517                                                             Google CDN




                                          https://cloud.google.com/dns/docs/zones/manage-routing-policies

 (i) one or more answers for the one      As one example, the following are supported by the Cloud DNS GUI:
 or more resource nodes, and              Decision criteria: DNS name, which can comprise a block of IP addresses because at least
                                          some DNS record types supports multiple IP addresses (see screenshot below);
 ii) one or more decision criteria for    Resource nodes: IP addresses – e.g., IPv4, IPv6 Addresses under “New resource record set”
 the one or more branch nodes,            below including option to “+ ADD ITEM”; and
 wherein the one or more criteria are     Answers: specific IP addresses such as 192.168.5.6 below.
 selected from criteria related to:
 world zones, countries, states, time
 zones, and blocks of Internet
 Protocol (IP) addresses,

 and wherein the one or more
 resource nodes are selected from: IP
 addresses, canonical name
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              8,645,517                                                              Google CDN
 (CNAME) records, mail exchange
 (MX) records, name server (NS)
 records, and load sharing server
 sets; and wherein the answers are
 selected from: IP addresses and
 CNAMEs.




                                          https://www.youtube.com/watch?v=Z-5PcJ_y4Qg at 14:40.

                                          Additionally, Cloud DNS allows geolocation routing policies or geofenced routing policies.
                                          A geolocation routing policy allows a user to map traffic based on a query source location
                                          (e.g., a branch node). The user selects the IP address for forwarding the request when the
                                          source is, for example, asia-east1. The answer is a resource node (and an IP address).



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               8,645,517                                                             Google CDN




                                          https://cloud.google.com/dns?hl=en#section-3;
                                          https://docs.infoblox.com/space/vniosgcp/35419584/Creating+a+Cloud+DNS+Policy;
                                          https://cloud.google.com/dns/docs/policies-overview




                                          https://cloud.google.com/dns/docs/zones/iam-per-resource-zones


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